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 1   ROBERT L. FORKNER     (CSB#166097)
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 2
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 5

 6   Attorney(s) for Defendant, LAIMIRO BOBADILLA

 7

 8

 9                           UNITED STATES DISTRICT COURT FOR THE

10                               EASTERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,                        Case No.: 1:18-CR-00156-DAD-BAM
12
                    Plaintiff,
13                                                    STIPULATION OF COUNSEL AND ORDER
     vs.
14                                                    TO MODIFY CONDITIONS OF RELEASE
     LAIMIRO BOBADILLA,
15
                    Defendant
16

17          To the Honorable Sheila K. Oberto, Magistrate Judge in the United States Court for the

18   Eastern District of California.
19
            Counsel for the defendant, Laimiro Bobadilla and Counsel for the Plaintiff, the United
20
     States Government, through Assistant United States Attorney, Rabenn Vincenza, do hereby
21

22
     Stipulate that the Order regarding Pretrial Release Conditions for Laimiro Bobadilla be modified.

23          On July 16, 2018, a detention hearing was held in the above captioned matter. Pre-Trial

24   Release Officer (PTO) recommended the defendant’s release, in finding that there were
25
     conditions of release which can sufficiently mitigate the defendant’s risk of non-appearance and
26
     the risks of danger. The PTO further recommended a financial commitment be made. The
27

28   Honorable Erica P. Grosjean ordered Mr. Bobadilla released as follows: $50,000.00
                                                   -1-
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 1   total equity property bond; third-party custody; do not obtain a passport or travel
 2
     document during the pendency of these proceedings; and all other conditions as read
 3

 4   into the record.
 5            It has been revealed upon further investigation that Ms. Hinsunza’s property does not
 6
     have $50,000 in equity as anticipated. Mr. Bobadilla’s family has offered a different property
 7
     with $100,000 in equity owned by family member, Juventino Ramos Rosas. Mr. Ramos is
 8
     willing to put up title to his home to effectuate the release of his nephew Liamiro Bobadilla on
 9

10   Pre-trial release.

11            On August 17, 2018, I notified Assistant U.S. Attorney Rabenn Vincenza of this request
12
     and she did not state any opposition to the request and indicated that she would defer to the
13
     court.
14
              On August 17, 2018, I notified Pre-Trial Services Duty Officer, Mary and she stated that
15

16   they are fine with whatever the government and defense counsel agree on.

17            Therefore, Counsel would stipulate and request that Order (7)(l) Condition of Release
18
     requirement that a total equity property bond, not less than $50,000, secured by property owned
19
     by Silvia Hinsunza, be modified from the previously Ordered Conditions to allow for a total
20
     equity property bond, of not less than $100,000, secured by property owned by Juventino Ramos
21

22   Rosas.

23            In support of the Stipulation, Counsel for Mr. Bobadilla would state to the Court that
24
     there is good reason that this condition of release be modified: 1.) the equity amount to secure his
25
     appearance would be larger, 2.) Mr. Bobadilla would be able to maintain his employment, 3.) He
26
     does not pose a danger to the community, 4.) He is not a flight risk, and 5.) All other terms and
27

28   conditions of release would remain in full force and effect.
                                                      -2-
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 1            For the above stated reasons Counsel for Mr. Bobadilla would request the Court to Order
 2
     that property bond condition (7)(l) be modified.
 3
                     Dated this 21st day of August, 2018.
 4

 5
                                                         /S/ Julissa Echevarria
 6                                                       JULISSA ECHEVARRIA
                                                         Attorney for Defendant
 7                                                       Laimiro Bobadilla
 8

 9            Date: August 24, 2018                     /S/ Rabenn Vincenza
                                                        RABENN VINCENZA
10                                                      Assistant United States Attorney
11                                                      Counsel for Plaintiff
                                                        The United States Government
12

13

14
                                                  ORDER
15

16            IT IS HEREBY ORDERED that Order (7)(l) of the Conditions of Release be modified as
17
     follows:
18
              A total equity property bond, of not less than $100,000, secured by property owned by
19

20   Juventino Ramos Rosas is ordered instead and in place of a total equity property bond of not less

21   than $50,000, secured by property owned by Silvia Hinsunza.
22

23
     IT IS SO ORDERED.
24

25
     Dated:     August 24, 2018                                    /s/   Sheila K. Oberto             .
                                                         UNITED STATES MAGISTRATE JUDGE
26

27

28
                                                    -3-
